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 1                                                                             The Hon. Richard A. Jones
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 7                           UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF WASHINGTON
 8
                                         AT SEATTLE
 9
10
       UNITED STATES OF AMERICA,                                      No. CR14-197-RAJ
11
                                  Plaintiff,
12
                            v.
13                                                                    FINAL ORDER OF FORFEITURE
                                                                      FOR $82,814.00 IN U.S. CURRENCY
14     HECTOR HERNANDEZ-MORENO,
15
                                 Defendant.
16
17
18
             THIS MATTER comes before the Court on the United States’ Motion for Entry of
19
     a Final Order of Forfeiture (“Motion”) for the following property:
20
                  $82,814.00 United States Currency, more or less, seized from Hector
21                Hernandez-Moreno at 18370 Cascade Street, Mount Vernon, Washington, on
                  July 9, 2014.
22
23           The Court, having reviewed the United States’ Motion, as well as the other
24 pleadings and papers filed in this matter, hereby FINDS entry of a Final Order of
25 Forfeiture is appropriate because:
26            In the plea agreement he entered on January 8, 2016, Defendant Hector
27                Hernandez-Moreno forfeited his interest in the above-listed currency pursuant
28                to 21 U.S.C. § 853 and 18 U.S.C. § 982(a)(1) (Dkt. No. 329, ¶ 13);
      Final Order of Forfeiture for $82,814.00 in U.S. Currency - 1                 UNITED STATES ATTORNEY
                                                                                   700 STEWART STREET, SUITE 5220
      U.S. v. Hernandez-Moreno, CR14-197-RAJ                                         SEATTLE, WASHINGTON 98101
                                                                                           (206) 553-7970
              Case 2:14-cr-00197-RAJ             Document 421             Filed 05/02/17     Page 2 of 2




 1             At the Defendant’s sentencing on April 15, 2016, the Court entered a
 2                 Preliminary Order of Forfeiture finding the currency forfeitable pursuant to 21
 3                 U.S.C. § 853 and 18 U.S.C. § 982(a)(1) and forfeiting his interest in it (Dkt.
 4                 No. 351);
 5                Thereafter, the United States published notice of the forfeiture as required by
 6                 21 U.S.C. § 853(n)(1) and Fed. R. Crim. P. 32.2(b)(6)(C) (Dkt. No. 364) and
 7                 provided direct notice to a potential claimant as required by Fed. R. Crim. P.
 8                 32.2(b)(6)(A) (Declaration of AUSA Jensen in Support of the Motion); and,
 9             The time for filing third-party petitions has expired, and none were filed.
10
11            NOW, THEREFORE, THE COURT ORDERS:
12            1.     No right, title, or interest in the above-listed currency exists in any party
13 other than the United States;
14            2.     The currency is fully and finally condemned and forfeited, in its entirety, to
15 the United States; and,
16            3.     The United States Marshals Service, and/or its representatives, are authorized
17 to dispose of the currency as permitted by governing law.
18
              IT IS SO ORDERED.
19
20
              DATED this 2nd day of May, 2017.
21
22                                                                   A
23                                                                   The Honorable Richard A. Jones
24                                                                   United States District Judge

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27
28
     Final Order of Forfeiture for $82,814.00 in U.S. Currency - 2                     UNITED STATES ATTORNEY
                                                                                      700 STEWART STREET, SUITE 5220
     U.S. v. Hernandez-Moreno, CR14-197-RAJ                                             SEATTLE, WASHINGTON 98101
                                                                                              (206) 553-7970
